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                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF LOUISIANA

RENEE REESE, on behalf of herself
and other persons similarly situated,
                                                           CIVIL ACTION NO.
                 Plaintiff
v.                                                         JUDGE

MARKETRON BROADCAST                                        MAGISTRATE
SOLUTIONS, INC., et al.,

                 Defendants                                Removed from the Civil District Court for the
                                                           Parish of Orleans, State of Louisiana


                                         NOTICE OF REMOVAL

TO THE HONORABLE JUDGES AND CLERK OF THE UNITED STATES COURT
FOR THE EASTERN DISTRICT OF LOUISIANA.

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446,

Defendant Marketron Broadcast Solutions, Inc. (“Marketron”) hereby removes to this Court the

above entitled action based upon the following grounds:

        1.       On or about February 5, 2018, Plaintiff commenced an action in the Civil District

Court for the Parish of Orleans, State of Louisiana, by filing a Class Action Petition (“Petition”)

captioned Renee Reese v. Marketron Broadcast Solutions, Inc., Docket No. 2018-01149,

Division M, Section 13 (the “State Court Action”). Pursuant to 28 U.S.C. § 1446(a), a copy of

the Petition and all other pleadings and process served on Marketron are attached hereto at

Exhibit A.1


1
        Previously, on September 28, 2017, Plaintiff filed a putative class action complaint asserting the same
claims against Marketron and additional defendants in the United States District Court for the Eastern District of
Louisiana, C.A. No. 17-9772, in a case pending before the Hon. Sarah S. Vance. In those prior proceedings, Judge
Vance granted motions to dismiss Plaintiff’s complaint, with prejudice, as to certain other defendants. (DN 36.)
Marketron also filed a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) & (6), but Plaintiff mooted that motion
by amending its complaint. (DN 38.) Thereafter, Plaintiff and Marketron entered into a joint stipulation setting a
schedule for briefing of Marketron’s anticipated motion to dismiss Plaintiff’s amended complaint and, if necessary,
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        2.       On or about February 13, 2018, Marketron’s registered agent Corporation Service

Company (“CSC”) was served by certified mail with a copy of the Summons and Petition in the

State Court Action at its address at 251 Little Falls Drive, Wilmington, DE 19808. Marketron

received notice of the Summons and Petition on or about February 14, 2018.

        3.       Removal is timely under 28 U.S.C. § 1446(b), as fewer than 30 days have elapsed

since Marketron was served with process.               See, e.g., Murphy Bros., Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344, 350-51 (1991) (“one becomes a party officially, and is required to

take action in that capacity, only upon service of a summons or other authority-asserting measure

stating the time within which the party served must appear and defend”).

        4.       In her Petition, Plaintiff has asserted a one-count claim for relief against

Marketron pursuant to the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the

“TCPA”). See Exhibit A, Petition at 8-9.

        5.       The TCPA is a federal statute which sets forth numerous restrictions concerning

advertising and/or telemarketing text message calls to individuals’ cellular telephones without

prior express consent. See generally 47 U.S.C. § 227.

        6.       Pursuant to 28 U.S.C. § 1331, the Court has original jurisdiction over this matter

as the Plaintiff’s claims under the TCPA arise under the laws of the United States.

        7.       Venue is proper in this court pursuant to 28 U.S.C. § 98 because it is the “district

and division embracing the place where such action is pending.” See 28 U.S.C. § 1441(a).




Plaintiff’s motion for class certification, which Judge Vance approved on January 18, 2018. (DN 41.) Pursuant to
the Court’s scheduling order, Marketron filed a second motion to dismiss Plaintiff’s amended complaint pursuant to
Fed. R. Civ. P. 12(b)(1) & (6) on January 30, 2018, because Plaintiff lacked standing and her complaint failed to
plead a claim for relief. (DN 47.) Rather than oppose Marketron’s second motion, Plaintiff unilaterally filed a
notice of voluntary dismissal on February 5, 2018 (DN 49), and that same day re-filed a substantially identical
complaint in Louisiana state court.

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        8.       Removal of this action to this Court is proper under 28 U.S.C. § 1441 because it is

a civil action founded upon a claim or right arising under the laws of the United States. See, e.g.,

Mims v. Arrow Financial Services, LLC, 565 U.S. 368, 386-87 (2012) (holding that private

TCPA claims arise under federal law, and therefore federal courts have federal question

jurisdiction over TCPA claims, notwithstanding concurrent state court jurisdiction); Rivet v.

Regions Bank of Louisiana, 522 U.S. 470 (1998) (defendant may remove to federal district court

under federal question jurisdiction “when a federal question is presented on the face of the

plaintiff's properly pleaded complaint”).2

        9.       As the United States Supreme Court has recognized, because claims under the

TCPA arise under federal law, a Defendant sued in state court is “free to remove those cases to

federal court under 28 U.S.C. § 1441.” See Mims, 565 U.S. at 386-87 (noting that TCPA class

actions are routinely removed from state court, including “65 TCPA claims removed to federal

district courts in Illinois, Indiana, and Wisconsin” over the period under review). In accordance

with 28 U.S.C. § 1446(d), written notice of the filing of this removal notice will be given to

Plaintiff and will be filed with the Clerk of Courts for the Civil District Court for the Parish of

Orleans, following the filing of this Notice.

        10.      Removal of this action to this Court is also proper under 28 U.S.C. §§ 1332(d)

and 1453 because it is a putative class action where Plaintiff has alleged that (a) there are at least

100 putative class members; (b) the plaintiff is a citizen of a different state from the defendant;

and (c) the aggregated amount in controversy is likely to exceed $5,000,000, exclusive of

interests and costs. See 28 U.S.C. §§ 1332(d).


2
         Mims overruled the Fifth Circuit’s prior holding that Congress did not create federal question jurisdiction
over private claims brought under the TCPA. See Chair King, Inc. v. Houston Cellular Corp., 131 F.3d 507, 511
(5th Cir. 1997), abrogated by Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 132 S. Ct. 740, 181 L. Ed. 2d 881
(2012).

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         11.      Here, the requirements for removal pursuant to 28 U.S.C. §§ 1332(d) and 1453

are satisfied because Plaintiff alleges she is a citizen of Louisiana and that Marketron is a citizen

of Idaho and that there are “thousands” of consumers in the United States who fall into the

definition of the Class. See Petition at ¶¶ 48-49. In addition, Plaintiff seeks up to $1,500 in

damages for Marketron’s alleged transmission of “numerous” calls to each of the “thousands” of

Class members nationwide. Id. at ¶¶ 34, 58-59. Assuming, conservatively, that the Class

contains a minimum of 2,000 members, each of whom received at least 2 calls, the aggregated

amount in controversy would be at least $6,000,000.                       See Clean Air Council v. Dragon

International Group, C.A. No. 1:CV-06-0430, 2006 WL 2136246, at *3-4 (M.D. Pa. 2006)

(concluding class action amount in controversy satisfied where defendant used “conservative

estimate” of 20,000 potential TCPA class members – alleged in Complaint to be in the tens of

thousands – and multiplied by statutory TCPA damages); see also Raskas v. Johnson & Johnson,

719 F.3d 884, 888 (8th Cir. 2013) (quoting Spivey v. Vertrue, Inc., 528 F.3d 982, 986 (7th Cir.

2008) (“[o]nce the proponent of federal jurisdiction has explained plausibly how the stakes

exceed $5 million . . . then the case belongs in federal court unless it is legally impossible for the

plaintiff to recover that much.”).3

         12.      In submitting this Notice of Removal, Marketron reserves all defenses, including

but not limited to, whether Plaintiff has standing; whether her Petition states a claim under the

TCPA; and whether class certification is appropriate.




3
 The Petition alleges that Marketron sent at least two texts to each putative class member. See, e.g., Petition at ¶¶
17, 21.

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       WHEREFORE, Defendant Marketron hereby removes this action from the Civil District

Court for the Parish of Orleans, State of Louisiana to the United States District Court for the

Eastern District of Louisiana.


                                                  Respectfully submitted,

                                                  /s/ Raymond C. Lewis
Certificate of Service                            John Jerry Glas (#24434)
                                                  Duris L. Holmes (#17629)
I hereby certify that a copy of the above         Raymond C. Lewis (#31236)
and foregoing pleading has been served            Victor M. Jones (#34937)
upon all counsel of record via notice of          DEUTSCH KERRIGAN, L.L.P.
electronic filing, email, fax or by placing       755 Magazine Street
same in the U.S. Mail, properly addressed         New Orleans, LA 70130
and postage prepaid, this 26th Day of             Telephone: 504-581-5141
February, 2018.                                   jerry@deutschkerrigan.com
                                                  dholmes@deutschkerrigan.com
                                                  rlewis@deutschkerrigan.com
                                                  vjones@deutschkerrigan.com
/s/ Raymond C. Lewis
                                                  Attorneys for Marketron Broadcast
Raymond C. Lewis
                                                  Solutions, LLC




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